     Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 1 of 56 Page ID
                                      #:7706



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                        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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        JENNY LISETTE FLORES, et al.,         )      Case No. CV 85-4544 DMG (AGRx)
19                                            )
               Plaintiffs,                    )      EXHIBIT 2 – DEPOSITION OF JUANITA
20
        - vs -                                )      HESTER – PART 1
21                                            )
        LORETTA E. LYNCH, ATTORNEY            )      Hearing: October 6, 2016
22
        GENERAL OF THE UNITED STATES, et al., )
23                                            )
               Defendants.                    )
24
                                          _ )
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        Plaintiffs’ counsel, continued:
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     Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 2 of 56 Page ID
                                      #:7707

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Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 3 of 56 Page ID
                                 #:7708
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 4 of 56 Page ID
                                 #:7709
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 5 of 56 Page ID
                                 #:7710
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 6 of 56 Page ID
                                 #:7711
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 7 of 56 Page ID
                                 #:7712
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 8 of 56 Page ID
                                 #:7713
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 9 of 56 Page ID
                                 #:7714
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 10 of 56 Page ID
                                  #:7715
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 11 of 56 Page ID
                                  #:7716
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 12 of 56 Page ID
                                  #:7717
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 13 of 56 Page ID
                                  #:7718
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 14 of 56 Page ID
                                  #:7719
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 15 of 56 Page ID
                                  #:7720
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 16 of 56 Page ID
                                  #:7721
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 17 of 56 Page ID
                                  #:7722
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 18 of 56 Page ID
                                  #:7723
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 19 of 56 Page ID
                                  #:7724
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 20 of 56 Page ID
                                  #:7725
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 21 of 56 Page ID
                                  #:7726
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 22 of 56 Page ID
                                  #:7727
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 23 of 56 Page ID
                                  #:7728
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 24 of 56 Page ID
                                  #:7729
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 25 of 56 Page ID
                                  #:7730
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 26 of 56 Page ID
                                  #:7731
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 27 of 56 Page ID
                                  #:7732
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 28 of 56 Page ID
                                  #:7733
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 29 of 56 Page ID
                                  #:7734
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 30 of 56 Page ID
                                  #:7735
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 31 of 56 Page ID
                                  #:7736
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 32 of 56 Page ID
                                  #:7737
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 33 of 56 Page ID
                                  #:7738
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 34 of 56 Page ID
                                  #:7739
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 35 of 56 Page ID
                                  #:7740
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 36 of 56 Page ID
                                  #:7741
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 37 of 56 Page ID
                                  #:7742
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 38 of 56 Page ID
                                  #:7743
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 39 of 56 Page ID
                                  #:7744
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 40 of 56 Page ID
                                  #:7745
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 41 of 56 Page ID
                                  #:7746
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 42 of 56 Page ID
                                  #:7747
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 43 of 56 Page ID
                                  #:7748
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 44 of 56 Page ID
                                  #:7749
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 45 of 56 Page ID
                                  #:7750
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 46 of 56 Page ID
                                  #:7751
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 47 of 56 Page ID
                                  #:7752
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 48 of 56 Page ID
                                  #:7753
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 49 of 56 Page ID
                                  #:7754
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 50 of 56 Page ID
                                  #:7755
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 51 of 56 Page ID
                                  #:7756
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 52 of 56 Page ID
                                  #:7757
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 53 of 56 Page ID
                                  #:7758
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 54 of 56 Page ID
                                  #:7759
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 55 of 56 Page ID
                                  #:7760
Case 2:85-cv-04544-DMG-AGR Document 262-3 Filed 09/19/16 Page 56 of 56 Page ID
                                  #:7761
